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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                            UNITED STATES DISTRICT COURT                               October 26, 2020
                             SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             § CRIMINAL ACTION NO. 4:19-CR-363-1-S
                                                §
ALDO RIGOBERTO GUERRA-GUEVARA                   §
   aka Primo; Juan; Jose Luis; Martin;
      Servando; & Arturo

                         REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

       The Magistrate Court submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b)(3). This case has been referred to the United States Magistrate

Judge to accept a felony guilty plea and conduct allocution pursuant to Federal Rule of Criminal

Procedure Rule 11. All parties waived the right to plead guilty before a United States District

Judge and consented instead to proceed before a United States Magistrate Judge.

       On October 23, 2020, Defendant and counsel appeared by video conference before the

Magistrate Judge, who addressed Defendant personally in open court and informed Defendant of

the admonishments under Rule 11 of the Federal Rules of Criminal Procedure and determined

that Defendant was competent to plead guilty and fully understood said admonishments.

Defendant could not be physically present without seriously jeopardizing public health and

safety during the national emergency created by the novel coronavirus. See Southern District of

Texas General Order 2020-19 (implementing Coronavirus Aid, Relief, and Economic Security

Act (“CARES Act”), and September 28, 2020 action by Judicial Conference authorizing video

teleconferencing under certain circumstances). The plea hearing was not postponed because the

Magistrate Judge found that further delay of the plea would cause serious harm to the interests of

justice, namely resulting in Defendant serving more time in jail than Defendant’s potential

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guideline sentence and/or prolonging the detention of material witnesses designated under Title

18, United States Code, Section 3144. Defendant waived personal appearance on the record and

consented to appearing by videoconference after consultation with counsel. The Magistrate

Judge also confirmed that Defendant could see and hear clearly during the proceeding.

       Defendant pleaded guilty to counts one and two of the Superseding Indictment (count

one, violation of Title 21, United States Code, Sections 846, 841(a)(1) and 841(b)(1)(A); count

two, violation of Title 18, United States Code, Sections 1956(a)(1)(B) and (h)). All other counts

are to be dismissed at sentencing. Pursuant to Rule 11(c)(1)(A) and Rule 11(c)(1)(C), the

Court summarized the written plea agreement to Defendant and counsel through video

conference. The Court explained that the District Judge is obligated to calculate the applicable

sentencing guideline range under the Sentencing Guidelines promulgated by the United States

Sentencing Commission and to consider that range in determining Defendant’s sentence. See

Fed. R. Crim. P. 11(b)(1)(M). The Court also explained that Defendant could receive a term of

supervised release. The Court advised Defendant as to the range of punishment with regard to

imprisonment, fines, restitution, supervised release, forfeiture of property, and the statutory fee

assessments. The Court finally informed Defendant that, if a person who is not a United States

citizen is convicted of a crime, he or she may be removed from the United States, denied

citizenship, and denied admission to the United States in the future. See Fed. R. Crim. P.

11(b)(1)(O).

       The Magistrate Judge finds the following:

               1. Defendant, with the advice of counsel, has consented orally to
                  enter this guilty plea before the Magistrate Judge, subject to
                  final approval and sentencing by the District Judge;

               2. Defendant fully understands the nature of the charges and
                  penalties;


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               3. Defendant understands his/her Constitutional and statutory
                  rights and wishes to waive these rights, including his/her right
                  to appeal or collaterally attack his sentence (see Fed. R. Crim.
                  P. 11(b)(1)(N));

               4. Defendant’s plea is made freely and voluntarily;

               5. Defendant is competent to enter this plea of guilty;

               6. There is an adequate factual basis for this plea; and

               7. Further delay of the plea would cause serious harm to the
                  interests of justice.

                                       Recommendation

       The Magistrate Court RECOMMENDS that the District Court accept the plea of guilty

and enter final judgment of guilt against Defendant.

                                            Warnings

       The parties may file objections to this Report and Recommendation, unless they waive

the right to do so. A party filing objections must specifically identify those findings or

recommendations to which objections are being made. The District Court need not consider

frivolous, conclusive, or general objections. Battle v. United States Parole Comm’n, 834 F.2d

419, 421 (5th Cir. 1987) (quoting Nettles v. Wainwright, 677 F.2d 404, 410 n.8 (5th Cir. 1982)

(en banc)).

       A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within 14 days after being served with a copy of the Report—or the

party’s waiver of the right to do so—shall bar that party from de novo review by the District

Court of the proposed findings and recommendations and, except upon grounds of plain error,

shall bar the party from appellate review of proposed factual findings and legal conclusions

accepted by the District Court to which no objections were filed. See 28 U.S.C. § 636(b)(1);

Thomas v. Arn, 474 U.S. 140, 150-53 (1985); Douglass v. United Services Auto. Ass’n, 79 F.3d

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1415, 1428-29 (5th Cir. 1996) (en banc), superseded by statute on other grounds, 28 U.S.C. §

636(b)(1) (extending the time to file objections from ten to fourteen days).

       The Clerk is directed to send a copy of this Report and Recommendation to all parties.

       SIGNED in Houston, Texas on October 26, 2020.




                                                     Sam S. Sheldon
                                                     United States Magistrate Judge




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